                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

LUCAS CRANOR, individually and on             )
behalf of all others similarly situated,      )
                                              )
                       Plaintiffs,            )       Case No. _______________________
                                              )
       v.                                     )
                                              )       CLASS ACTION
CLASSIFIED ADVERTISING                        )
VENTURES, LLC, and TRADECO                    )       JURY TRIAL DEMANDED
MEDIA GROUP, LLC,                             )
                                              )
                       Defendants.            )

                                CLASS ACTION COMPLAINT

       1.       Plaintiff, Lucas Cranor, individually and on behalf of all others similarly situated,

brings this action against Defendant Classified Advertising Ventures, LLC and Defendant

Tradeco Media Group, LLC for negligently, willfully and/or knowingly making calls to

Plaintiff’s cellular telephone number using an automatic telephone dialing system (“ATDS”) or

an artificial or prerecorded voice, and sending text messages to Plaintiff’s cellular telephone

number using an ATDS, without prior express consent, all in violation of the Telephone

Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                        INTRODUCTION

       2.       “If robocalls were a disease, they would be an epidemic.” Rage Against

Robocalls, Consumer Reports (July 28, 2015, 6:00 AM), https://www.consumerreports.org/

cro/magazine/2015/07/rage-against-robocalls/index.htm.        “Robocalls” are the #1 consumer

complaint in America today and the Defendants’ conduct in this case is a good reason why.

       3.       The TCPA was enacted to prevent companies like Defendants from invading

American citizens’ privacy and to prevent illegal robocalls and text messages.

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          4.       In 1991, Congress enacted the TCPA in response to a growing number of

consumer complaints regarding certain telemarketing practices – for example, computerized calls

to private homes. Congress found that “automated or pre-recorded calls are a nuisance and an

invasion of privacy, regardless of the type of call” and decided that “banning” such calls made

without consent was “the only effective means of protecting telephone consumers from this

nuisance and privacy invasion.” Pub. L. No. 102-243, §§ 2(10-13) (Dec. 20, 1991), codified at

47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 371 (2012) (“The Act

bans certain practices invasive of privacy[.]”).

          5.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.’”        137 Cong. Rec. 30, 821 (1991).      “Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio v.

State Farm Bank, F.S.B., 746 F.3d 1242, 1256 (11th Cir. 2014).

          6.       According to findings by the Federal Communication Commission (“FCC”)—the

agency Congress vested with authority to issue regulations implementing the TCPA—such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient. The FCC also recognized that wireless customers are charged for incoming

calls whether they pay in advance or after the minutes are used. These types of damages are the

same shared by the Plaintiff and the class members.

          7.       The Pew Research Center has reported 69 percent of cellular users who use text

messaging receive unwanted text message spam, with 25 percent of them receiving it on a



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weekly basis. Jan Lauren Boyles and Lee Rainie, Mobile Phone Problems, Pew Research Center

(Aug. 2, 2012), http://www.pewinternet.org/2012/08/02/mobile-phone-problems. Plaintiff is one

such person.

       8.       The TCPA regulates, inter alia, the use of artificial or prerecorded messages and

automated telephone equipment (a/k/a “autodialers” or “robodialers”) to make calls or send text

messages to any cellular telephone number.           Specifically, the plain language of section

227(b)(1)(A)(iii) prohibits the use of prerecorded messages or autodialers to make any call to a

wireless number in the absence of an emergency or the prior express consent of the called party.

       9.       Text messages are “calls” under the TCPA. Layden v. Adams Auto Corp., No. 18-

00065-CV-W-ODS, 2018 U.S. Dist. LEXIS 79792, at *4 (W.D. Mo. May 11, 2018) (quoting

Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 667 (2016)).

       10.      In 2012, pursuant to its rulemaking authority under the TCPA, the FCC imposed

even stricter requirements on “advertising” and “telemarketing” calls by making it unlawful to:

                Initiate, or cause to be initiated, any telephone call that includes or
                introduced an advertisement or constitutes telemarketing, using an
                automatic telephone dialing system or an artificial or prerecorded voice, to
                any [cellular telephone number], other than a call made with the prior
                express written consent of the called party[.]

47 C.F.R. § 64.1200(a)(2). This prior written consent requirement became effective on October

16, 2013.

       11.      The term “prior express written consent” means:

                [A]n agreement, in writing, bearing the signature of the person called that
                clearly authorizes the seller to deliver or cause to be delivered to the
                person called advertisements or telemarketing messages using an
                automatic telephone dialing system or an artificial or prerecorded voice,
                and the telephone number to which the signatory authorizes such
                advertisements or telemarketing messages to be delivered. (i) The written
                agreement shall include a clear and conspicuous disclosure informing the
                person signing that: (A) By executing the agreement, such person

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               authorizes the seller to deliver or cause to be delivered to the signatory
               telemarketing calls using an automatic telephone dialing system or an
               artificial or prerecorded voice; and (B) The person is not required to sign
               the agreement (directly or indirectly), or agree to enter into such an
               agreement as a condition of purchasing any property, goods, or services.

47 C.F.R. § 64.1200(f)(8). In other words, the agreement “must tell consumers the telemarketing

will be done with autodialer equipment and that consent is not a condition of purchase.” In re

Rules & Regulations Implementing the TCP Act of 1991 et al., 30 FCC Rcd 7961, 8012-8013 ¶

98 (F.C.C. July 10, 2015).

                                JURISDICTION AND VENUE

       12.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331 and 28 U.S.C. § 1391, respectively.

       13.     Defendants’ unlawful conduct was directed to this District, Plaintiff’s cellular

telephone received the illegal calls in this District, Plaintiff resides in this District, and

Defendants provide and market their services in this District.

                       A BRIEF OVERVIEW OF TEXT MESSAGING

       14.     In recent years, companies who have often felt stymied by federal laws limiting

solicitation by telephone, facsimile machine, and email have increasingly looked to alternative

technologies through which they can send bulk solicitations cheaply.

       15.     One of the newest types of such bulk marketing is to advertise through Short

Message Services. The term “Short Message Service” or “SMS” describes a messaging system

that allows cellular telephone subscribers to use their cellular telephones to send and receive

short text messages, usually limited to 120 - 500 characters.

       16.     An “SMS message” is a text message call directed to a wireless device through

the use of the telephone number assigned to the device.          When an SMS message call is



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successfully made, the recipient’s cell phone rings, alerting him or her that a call is being

received.

       17.       The open rate for SMS messages exceeds 99 percent, and 90 percent of those

messages are read within three minutes. Conversely, the open rate for email in the retail industry

is 31 percent.

       18.       Unlike more conventional advertisements, SMS calls, and particularly wireless or

mobile spam, can cost their recipients money because cellphone users must frequently pay their

respective wireless service providers either for each text message call they receive or incur a

usage allocation deduction to their text plan, regardless of whether or not the message is

authorized or whether they prepay for these plans. These types of damages are the same shared

by the Plaintiff and the class members.

                                   FACTUAL ALLEGATIONS

       19.       Plaintiff is a natural person and citizen of the State of Missouri who resides in

Joplin, Missouri, and is a “person” as defined by 47 U.S.C. § 153(39).

       20.       Plaintiff is the subscriber and regular user of the cellular telephone number at

issue, (417) xxx-1968.

       21.       Thus, Plaintiff is the “called party” within the meaning of the TCPA.

       22.       Defendant Classified Advertising Ventures, LLC (“Classified”) is a Nevada

limited liability company with its principal office or headquarters in Carson City, Nevada, and is

a “person” as defined by 47 U.S.C. § 153(39).           Classified operates an online, nationwide

classifieds service that lists its clients’ vehicles and equipment in this District and throughout the

country on various websites operated by it and its agents. Classified holds itself out as an

advertising and finance company.



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       23.     Classified conducts business under several alternative names throughout the

country, including “Seller Networks,” “Tradeco Media Group,” “Equipment Seller Networks,”

“TradeNet Autos,” “TradeNet Classics,” “TradeNet Boats,” “TradeNet Cycles,” “TradeNet

Equipment,”      “TradeNet      RVs,”     “ClassicCarSellerNetwork,”      “CycleSellerNetwork,”

“RVSellerNetwork,” “EquipmentSellerNetwork,” and “BoatSellerNetwork.”

       24.     Except for Tradeco Media Group, none of those alternative business names have

been registered with the State of Missouri or the State of Nevada or, upon information and belief,

any State.

       25.     Defendant Tradeco Media Group, LLC (“Tradeco”) is a Nevada limited liability

company with its principal office or headquarters in Carson City, Nevada, and is a “person” as

defined by 47 U.S.C. § 153(39). Tradeco operates an online, nationwide classifieds service that

lists its clients’ vehicles and equipment in this District and throughout the country on various

websites operated by it and its agents.

       26.     Tradeco also conducts business under several alternative names throughout the

country, including “Seller Networks,” “Classified Advertising Ventures,” “Equipment Seller

Networks,” “TradeNet Autos,” “TradeNet Classics,” “TradeNet Boats,” “TradeNet Cycles,”

“TradeNet Equipment,” “TradeNet RVs,” “ClassicCarSellerNetwork,” “CycleSellerNetwork,”

“RVSellerNetwork,” “EquipmentSellerNetwork,” and “BoatSellerNetwork.”

       27.     Upon information and belief, at all relevant times, Classified and Tradeco shared

the same officers, operated out of the same principal office, and shared some or all of the same

employees.

       28.     Upon information and belief, Classified and Tradeco were alter-egos of each other

or acting as agents or employees of each other, and acted within the scope of said agency or



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employment and with the full knowledge and consent of each other when undertaking the acts

and omissions alleged herein.

        29.     Classified and Tradeco, each a “Defendant,” are referred to herein as

“Defendants.”

        30.     On or about May 9, 2018, Plaintiff listed his vehicle for sale on Cars.com. The

Cars.com terms and conditions provide, inter alia, “Prohibited Activities The following is a

partial list of the kinds of activities that are prohibited on or through the Site: . . . (j) engaging in

commercial activities and/or sales without prior written consent, such as contests sweepstakes,

barter, advertising and pyramid schemes; . . . (l) using any robot, spider or other automated

device, or a manual process, to monitor or copy web pages or the Content contained in the Site

or for any other unauthorized purpose without the prior expressed written permission[.]”

        31.     The Cars.com listing for Plaintiff’s vehicle included Plaintiff’s cellular telephone

number.

        32.     On or about May 11, 2018, Plaintiff listed his vehicle for sale on Craigslist.org.

Plaintiff’s telephone number was not provided in this listing. In the listing, Plaintiff made clear

that he did not want and was not authorizing any telemarketing or advertising calls, stating “DO

NOT CONTACT ME WITH UNSOLICITED SERVICES OR OFFERS.”

        33.     Upon information and belief, Defendants use a commonly-available form of Lead

Generating software colloquially referred to as a “scraper” to scour advertisements and listings

on websites such as Cars.com and Craigslist.org, “scrape” or copy cellular telephone numbers

from those ads, and call and/or text those numbers in an effort to generate business.

        34.     Upon information and belief, Defendants used Lead Generating software to

“scrape” or copy Plaintiff’s cellular telephone number from the listings for the purpose of calling



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and texting that number as alleged herein—in complete disregard of the Cars.com Terms of

Service and Plaintiff’s instructions in his listing.

        35.     Defendants never had prior express consent to place any calls or send any text

messages to Plaintiff’s cellular telephone number.

                               THE CALLS & TEXT MESSAGES

        36.     On May 14, 2018, Defendants placed a call from (816) 253-8132 to Plaintiff’s

cellular telephone number. Plaintiff did not answer the call, his voicemail picked up, and

Defendants did not leave a message.

        37.     On May 18, 2018, Defendants placed a call from (816) 253-8132 to Plaintiff’s

cellular telephone number. Plaintiff did not answer the call, his voicemail picked up, and

Defendants did not leave a message.

        38.     Defendants thereafter placed at least six (6) additional calls from (816) 253-8132

to Plaintiff’s cellular telephone number. Defendants terminated each call before Plaintiff or his

voicemail answered.

        39.     On May 22, 2018, Defendants sent or caused to be sent from phone number (619)

369-0090 the following text message to Plaintiff’s cellular telephone number: “Is your Chevrolet

still available? Call me.”

        40.     On May 23, 2018, Defendants sent or caused to be sent from phone number (949)

371-8835 the following text message to Plaintiff’s cellular telephone number: “Is your Chevrolet

still available? Call me.”

        41.     Also on May 23, 2018, Defendants sent or caused to be sent from phone number

(323) 405-3699 the following text message to Plaintiff’s cellular telephone number: “Is your

Chevrolet still available? Call me.”



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       42.       On May 24, 2018, Defendants again sent or caused to be sent from phone number

(323) 405-3699 the following text message to Plaintiff’s cellular telephone number—twice: “Is

your Chevrolet still available? Call me.”

       43.       On May 24, 2018, Plaintiff called (323) 405-3699. After being greeted by an

artificial female voice asking “Are you still selling your car?” and then navigating an automated

menu to be connected with a live representative, Plaintiff was connected with an agent of

Defendants and Seller Networks.

       44.       On May 29, 2018, Defendants sent or caused to be sent from phone number (818)

805-1336 the following text message to Plaintiff’s cellular telephone number: “Is your Chevrolet

still available? Call me.”

       45.       On May 30, 2018, Plaintiff called (816) 253-8132. After a long pause, Plaintiff

was greeted by an artificial voice, navigated the automated menu in order to be connect with a

live representative, and was transferred to a live agent of Defendants and Seller Networks,

TradeNet Autos, TradeNet Classics, TradeNet Boats and TradeNet Equipment. During this call,

Plaintiff again told Defendants’ agent to stop calling his cellular telephone number.

       46.       When Plaintiff subsequently called the contact phone number listed on

www.SellerNetworks.com, (775) 621-0009, Defendants’ agent answered: “Seller Networks, this

is Keith.”

       47.       (775) 621-0009 is also listed as a contact number on each of the following

websites: www.TradeNetClassics.com; www.TradeNetAutos.com; www.TradeNetBoats.com;

www.TradeNetEquipment.com; www.TradeNetRVS.com; and www.TradeNetCycles.com.




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       48.     On May 30, 2018, Defendants sent or caused to be sent from phone number (714)

786-1689 the following text message to Plaintiff’s cellular telephone number: “Is your Chevrolet

still available? Call me.” That day, Plaintiff texted back: “Who is this?”

       49.     Plaintiff separately called back each of the following telephone numbers: (619)

369-0090; (949) 371-8835; (818) 805-1336; (714) 786-1689. Each call was answered by the

same artificial female voice asking “Are you still selling your car?” that answered when Plaintiff

had previously called (323) 405-3699.

       50.     On May 31, 2018, Plaintiff separately texted “Please do not text me anymore.” to

each of the following telephone numbers: (619) 369-0090; (949) 371-8835; (323) 405-3699;

(818) 805-1336; (714) 786-1689.

       51.     Also    on   May 31,      Plaintiff    confirmed   to   Defendants   via   email   to

customerservice@sellernetworks.com that they did not have permission to contact his cellphone

number. Despite Plaintiff sending that message as part of an email thread already containing

Plaintiff’s cellphone number, Defendants’ agent responded that Plaintiff would need to provide

his number in order for Defendants to add Plaintiff to their “do not call” list.

       52.     Each call Defendants made to Plaintiff’s cellular telephone number was made

without the prior express written consent of Plaintiff.

       53.     Defendants made at least one call to (417) xxx-1968 using an “automatic

telephone dialing system” as defined by 47 U.S.C. § 227(a)(1) (“ATDS”), which has the

capacity: to store or produce telephone numbers to be called, without human intervention, using

a random or sequential number generator; and to dial such numbers.

       54.     Defendants made at least one call to (417) xxx-1968 using an artificial or

prerecorded voice.



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        55.    Each call Defendants made to (417) xxx-1968 in the last four years was made

using an ATDS or an artificial or prerecorded voice.

        56.    Each text message call Defendants made to Plaintiff’s cellular telephone number

was made without the prior express written consent of Plaintiff.

        57.    Defendants made at least one text message call to (417) xxx-1968 using an

ATDS.

        58.    Each text message call Defendants made to (417) xxx-1968 in the last four years

was made using an ATDS.

        59.    The identical, impersonal and anonymous nature of the text messages to

Plaintiff’s cellphone number demonstrates that they were sent using an ATDS.

        60.    The automated sending of SMS messages is an integral feature of the “scraper”

software that it is believed Defendants used to harvest the cellphone numbers from websites.

        61.    By effectuating these unlawful phone calls and text messages, Defendants caused

Plaintiff the very harm that Congress sought to prevent—namely, a “nuisance and invasion of

privacy.”

        62.    Defendants’ aggravating and annoying phone calls and text messages trespassed

upon and interfered with Plaintiff’s rights and interests in his cellular telephone and cellular

telephone line, and intruded upon Plaintiff’s seclusion.

        63.    Moreover, “wireless customers [like Plaintiff] are charged for incoming calls

whether they pay in advance or after the minutes are used.” In re Rules Implementing the Tel.

Consumer Prot. Act of 1991, 23 FCC Rcd 559 ¶ 7 (Jan. 4, 2008). Defendants’ phone calls and

text message calls harmed Plaintiff by depleting the battery life on his cellular telephone, and by

using minutes allocated to Plaintiff by his cellular telephone service provider.



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       64.     Defendants have a corporate policy of making calls and sending text messages

using an ATDS or an artificial or prerecorded voice in order to market and/or advertise

Defendants’ services to individuals such as Plaintiff for Defendants’ financial benefit.

       65.     Defendants intentionally “scraped” telephone numbers from ads on websites such

as Cars.com and Craigslist.org for the purpose and with the intent of sending mass text messages

to those numbers without first obtaining express consent or determining whether the numbers

were assigned to a cellular telephone service.

       66.     Defendants willfully or knowingly violated the TCPA with respect to the Plaintiff

and members of the Class and each Subclass.

                               COUNT I: Violation of the TCPA

       67.     Plaintiff realleges and incorporates by reference the allegations contained in

paragraphs 1 through 66.

       68.     Defendants made calls and sent text messages to Plaintiff’s cellular telephone

number using an ATDS without Plaintiff’s prior express consent.

       69.     Defendants made calls to Plaintiff’s cellular telephone number using an artificial

or prerecorded voice without Plaintiff’s prior express consent.

       70.     The subject calls and text messages were not placed for emergency purposes

within the meaning of the TCPA.

       71.     Defendants willfully and knowingly violated the TCPA, including 47 U.S.C. §

227(b)(1)(A)(iii), each time they made a call or sent a text message to Plaintiff’s cellular

telephone number using an ATDS or artificial or prerecorded voice without Plaintiff’s prior

express consent.




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        72.     The subject calls and text messages to Plaintiff’s cellular telephone number

advertised the commercial availability of Defendants’ services, and therefore “included or

introduced an advertisement” within the meaning of the TCPA.

        73.     The subject calls and text messages to Plaintiff’s cellular telephone number were

for the purpose of encouraging the purchase or rental of, or investment in, Defendants’ services,

and therefore constitute “telemarketing” within the meaning of the TCPA.

        74.     Defendants did not have Plaintiff’s “prior express written consent,” as defined by

47 C.F.R. § 64.1200(f)(8), to make the subject calls or send the subject text messages to

Plaintiff’s cellular telephone number.

        75.     Defendants willfully and knowingly violated the TCPA implementing regulations,

including 47 C.F.R. § 64.1200(a)(2), each time they made a call or sent a text message to

Plaintiff’s cellular telephone number, that included or introduced an advertisement or constituted

telemarketing, using an ATDS or artificial or prerecorded voice without Plaintiff’s prior express

written consent.

        76.     As a result of Defendants’ illegal conduct, Plaintiff and the members of each

Class and Subclass suffered actual damages and, under 47 U.S.C. § 227(b)(3)(B), are entitled to,

inter alia, a minimum of $500.00 in damages for each such violation of the TCPA.

        77.     Plaintiff and the Class and Subclass members are also entitled to and do seek

injunctive relief prohibiting Defendants from violating the TCPA in the future.

                                CLASS ACTION ALLEGATIONS

        78.     Plaintiff realleges and incorporates by reference the allegations contained in all

other paragraphs as if fully stated herein. Plaintiff brings the above claims individually and on

behalf of all others similarly situated.



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      79.    In this case, Plaintiff seeks to certify the Classes and Subclasses, subject to

amendment, as follows:

      80.    The Call Class consists of:

             (1) All persons in the United States (2) to whose cellular telephone
             number (3) Defendant or anyone acting on its behalf placed a non-
             emergency telephone call (4) about Defendant’s services regarding the
             sale of a vehicle (5) using substantially the same system(s) that were used
             to call Plaintiff or an artificial or prerecorded voice (6) within 4 years of
             the complaint (7) where Defendant did not have express written consent to
             call said cellular telephone number.

             The Call Scraper Subclass consists of:

             (1) All persons in the United States (2) to whose cellular telephone
             number (3) Defendant or anyone acting on its behalf placed a non-
             emergency telephone call (4) about Defendant’s services regarding the
             sale of a vehicle (5) using substantially the same system(s) that were used
             to call Plaintiff or an artificial or prerecorded voice (6) within 4 years of
             the complaint (7) after that person placed an advertisement on an Internet
             website such as Craigslist.org or Cars.com in connection with the sale of a
             vehicle.

             The Text Message Class consists of:

             (1) All persons in the United States (2) to whose cellular telephone
             number (3) Defendant or anyone acting on its behalf placed a non-
             emergency text message (4) about Defendant’s services regarding the sale
             of a vehicle (5) using substantially the same system(s) that were used to
             call Plaintiff (6) within 4 years of the complaint (7) where Defendant did
             not have express written consent to send text messages to said cellular
             telephone number.

             The Text Message Scraper Subclass consists of:

             (1) All persons in the United States (2) to whose cellular telephone
             number (3) Defendant or anyone acting on its behalf placed a non-
             emergency text message (4) about Defendant’s services regarding the sale
             of a vehicle (5) using substantially the same system(s) that were used to
             call Plaintiff (6) within 4 years of the complaint (7) after that person
             placed an advertisement on an Internet website such as Craigslist.org or
             Cars.com in connection with the sale of a vehicle.




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       81.     Plaintiff represents and is a member of each Class and Subclass. Excluded from

each Class and Subclass are Defendants and any entities in which Defendants have a controlling

interest, Defendants’ employees and agents, the Judge to whom this action is assigned, and any

member of the Judge’s staff and immediate family.

       82.     Plaintiff is presently unaware of the exact number of members in each Class and

Subclass, but based upon the size and scope of Defendants’ business, the automated nature of the

texts and calls and the use of SMS to send the texts, Plaintiff reasonably believes that the Class

and Subclass members number, at a minimum, in the thousands.

       83.     Plaintiff and all members of each Class and Subclass have been harmed by

Defendants’ actions.

       84.     This Class Action Complaint seeks money damages and injunctive relief.

       85.     The joinder of all Class and Subclass members is impractical due to the size and

relatively modest value of each individual claim.

       86.     The disposition of the claims in a class action will provide substantial benefit to

both the parties and the Court in avoiding multiplicity of identical suits.

       87.     The members of each Class and Subclass can be easily identified through records

maintained by Defendants or their agents.

       88.     There are question of law and fact common to the members of each Class and

Subclass, which common questions predominate over any questions that affect only individual

Class or Subclass members. Those common questions of law and fact include, but are not

limited to:

                a) Whether the system used to place the calls was an ATDS;




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               b) Whether the system used to place the calls delivered an artificial or

                   prerecorded message;

               c) Whether the system used to send the text messages was an ATDS;

               d) Whether Defendant engaged in a pattern of using an ATDS or artificial or

                   prerecorded voice to place calls to cellular telephone numbers without the

                   prior express consent of the called party;

               e) Whether Defendant engaged in a pattern of using an ATDS to send text

                   messages to cellular telephone numbers without the prior express consent of

                   the called party;

               f) Whether the calls or text messages included or introduced an advertisement;

               g) Whether the calls or text messages constitute telemarketing;

               h) Whether Defendants’ conduct was willful or knowing; and

               i) Whether Defendants’ actions violated the TCPA.

       89.    As a person who received calls and text messages on his cellphone that were

made or sent using an ATDS or an artificial or prerecorded voice without prior express consent,

all within the meaning of the TCPA, Plaintiff asserts claims that are typical of the members of

each Class and Subclass.

       90.    Plaintiff will fairly and adequately represent and protect the interests of each

Class and Subclass, and Plaintiff does not have an interest that is antagonistic to any member of

the Class or any Subclass.

       91.    Plaintiff has retained counsel experienced in handling class action claims

involving violations of federal and state consumer protection statutes such as the TCPA.




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       92.     A class action is the superior method for the fair and efficient adjudication of this

controversy.

       93.     Class-wide relief is essential to compel Defendant to comply with the TCPA. The

interest of class members in individually controlling the prosecution of separate claims against

Defendants is small because the statutory damages in an individual action for violation of the

TCPA are small.

       94.     Management of these claims as a class action is likely to present significantly

fewer difficulties than are presented by many class claims because the calls and text messages at

issue are all automated and the Class and Subclass members, by definition, did not provide the

prior express consent required under the statute and regulations to authorize such calls and text

messages to their cellular telephones.

       95.     Defendants have acted on grounds generally applicable to each Class and

Subclass, thereby making final injunctive relief and corresponding declaratory relief with respect

to each Class and Subclass as a whole appropriate.

       96.     Moreover, the TCPA violations complained of herein are substantially likely to

continue in the future if an injunction is not entered.

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of her and the

Class, and against each Defendant, for:

       (a)     A declaration that each Defendant’s practices described herein violate the

Telephone Consumer Protection Act, 47 U.S.C. § 227;

       (b)     An injunction prohibiting each Defendant from using an ATDS or an artificial or

prerecorded voice to make telemarketing or advertising calls to any cellular telephone number




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without signed, written agreements authorizing that Defendant to make such calls to those

numbers, in order to ensure that Plaintiff is not called in the future;

        (c)     An injunction requiring each Defendant to file with the Court quarterly reports of

third party audits of Defendant’s system and procedures to not make telemarketing or advertising

calls to any cellular telephone number using an ATDS or an artificial or prerecorded voice

without signed, written agreements authorizing that Defendant to make such calls to those

numbers, in order to ensure that Plaintiff is not called in the future;

        (d)     An injunction prohibiting each Defendant from using an ATDS to send

telemarketing or advertising text messages to any cellular telephone number without signed,

written agreements authorizing that Defendant to send such text messages to those numbers, in

order to ensure that Plaintiff is not texted in the future;

        (e)     An injunction requiring each Defendant to file with the Court quarterly reports of

third party audits of Defendant’s system and procedures to not send telemarketing or advertising

text messages to any cellular telephone number using an ATDS without signed, written

agreements authorizing that Defendant to send such text messages to those numbers, in order to

ensure that Plaintiff is not texted in the future;

        (f)     An award of actual damages in an amount to be proven at trial;

        (g)     An award of statutory damages for Plaintiff and each Class and Subclass member

in the amount of $500.00 for each and every call and text message that violated the TCPA;

        (h)     An award of treble damages, as provided by statute, of up to $1,500.00 for

Plaintiff and each Class and Subclass member for each and every call and text message that

violated the TCPA;




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        (i)     An order certifying this action to be a proper class action pursuant to Federal Rule

of Civil Procedure 23, establishing the appropriate Classes and Subclasses the Court deems

appropriate, finding that Plaintiff is a proper representative of each Class and Subclass, and

appointing the lawyers and law firms representing Plaintiff as counsel for each Class and

Subclass;

        (j)     An award of Plaintiff’s attorneys’ fees, litigation expenses and costs of suit; and

        (k)     Such further and other relief as the Court deems reasonable and just.

                                         JURY DEMAND

        Plaintiff, individually and on behalf of all others similarly situated, hereby demands trial

by jury on all issues so triable.

Dated: August 20, 2018
                                               Respectfully Submitted,

                                               LUCAS CRANOR, INDIVIDUALLY AND ON BEHALF
                                               OF ALL OTHERS SIMILARLY SITUATED, Plaintiffs

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